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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Case No. 1:21-CR-00026-CRC
                                             :
CHRISTOPHER ALBERTS,                         :
                                             :
                      Defendant.             :

                        UNITED STATES’ RESPONSE
              TO DEFENDANT’S MOTION FOR RETURN OF PROPERTY

       The United States of America hereby responds to the Defendant’s Motion for Return of

Property (ECF 194). This motion should be dismissed as moot.

       On January 20, 2025, the President pardoned approximately 1,600 individuals who were

involved in the events at the Capitol on January 6, 2021. The Federal Bureau of Investigation

(“FBI”), with assistance from the U.S. Attorney’s Office, then began returning seized property to

those individuals. The defendant’s property was sent to him via FedEx with a signature required;

the tracking number was provided to the defendant’s counsel on Thursday, April 3, 2025. Thus,

the defendant should receive his property shortly.

       The motion should be denied as moot.

                                             Respectfully submitted,

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                                                            /S/
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